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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA
                                      RENO, NEVADA


TESLA, INC.,                                  )            3:18-CV-0296-LRH-CLB
                                              )
                   Plaintiff(s),              )            MINUTES OF PROCEEDINGS
                                              )
vs.                                           )            DATE: December 13, 2019
                                              )
MARTIN TRIPP,                                 )
                                              )
                  Defendant(s).               )
                                              )

PRESENT:       THE HONORABLE CARLA BALDWIN,                         U.S. MAGISTRATE JUDGE
Deputy Clerk:          Lisa Mann          Court Reporter:        Liberty Recorder
Counsel for Plaintiff(s):      Sean Gates
Counsel for Defendant(s):      William Fischbach

PROCEEDINGS: TELEPHONIC MOTION HEARING

8:59 a.m. Court convenes.

               The Court addresses the parties regarding the purpose of this hearing and advises

counsel of the papers the Court reviewed in preparation for this motion hearing.


               The Court finds Martin Tripp’s motion to seal motion to compel deposition of

Elon Musk under LR IA 10-5 (ECF No. 108) is GRANTED in part and DENIED in part. The

motion is granted insofar as the Court finds that only Exhibits L, M, and N of the motion shall be

sealed. However, at the conclusion of this proceeding counsel shall meet and confer to

determine exactly what should be sealed and; thereafter, the defendant shall file a redacted

version of the motion forthwith. If counsel are unable to resolve the issue, counsel shall contact

the Court to reconvene this hearing for a resolution.
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               The Court provides counsel with an explanation as to why the Court denied

plaintiff’s motion to file a surreply (ECF No. 124).


               The Court and counsel discuss the defendant’s motion to compel deposition of

Elon Musk (ECF No. 107).


               Having heard from counsel and good cause appearing, the Court finds that Elon

Musk shall be deposed. The deposition will be limited to issues in this case only and shall be

allowed for a total of three (3) hours. The Court will allow Elon Musk to be deposed on items 1,

2, 3, and 5 as outlined in Exhibit K of the motion to compel (ECF No. 107). The Court will not

allow Elon Musk to be deposed on item 7, limits deposition topic item 6 as to Mr. Tripp only,

and will allow deposition topic 4 limited to the counter-claim and those items related to Mr.

Musk’s actions or information gleaned through the investigation provided to Mr. Musk of which

resulted in action by Mr. Musk. If any issues arise at the deposition, counsel are directed to

immediately contact the Court for resolution. Counsel shall file, under seal, a notice advising the

Court of the date and time for the deposition of Elon Musk.


               The Court notes that discovery closes on January 31, 2020. Therefore, counsel

have leave to file a stipulation for a brief extension of the discovery cut-off to allow for the

deposition of Mr. Musk.


IT IS SO ORDERED.

9:55 a.m. Court adjourns.
                                                       DEBRA K. KEMPI, CLERK

                                                       By:          /s/
                                                             Lisa Mann, Deputy Clerk
